






NO. 07-06-0136-CR


NO. 07-06-0137-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL A



MAY 4, 2006



______________________________




EX PARTE JOHANSON LEE WATSON






_________________________________



FROM THE 46TH DISTRICT COURT OF WILBARGER COUNTY;



NOS. 9479 &amp; 9480; HONORABLE TOM NEELY, JUDGE



_______________________________



Before REAVIS and CAMPBELL and HANCOCK, JJ.

MEMORANDUM OPINION


	Johanson Lee Watson, who is incarcerated and proceeding pro se, filed applications
for writs of habeas corpus in the trial court.  He simultaneously filed notices of appeal
seeking relief from this Court should he receive unfavorable rulings from the trial court.  We
dismiss for want of jurisdiction.

	A premature notice of appeal in a criminal case is effective after sentence is
imposed or suspended in open court or after an appealable order is signed by the trial
court.  See Tex. R. App. P. 27.1(b).  It is not effective if filed before the trial court makes
a finding of guilt or receives a jury verdict.  We decline to interpret Rule 27.1(b) as
permitting a premature notice of appeal from an application for a writ of habeas corpus
without a signed appealable order.

	Accordingly, these purported appeals are dismissed for want of jurisdiction.

						Don H. Reavis

						    Justice



Do not publish.


